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             PSJ3
           Exhibit 677
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                                                                         Page 1
              IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OHIO
                          EASTERN DIVISION
                                 -    -   -

            IN RE: NATIONAL               :   HON. DAN A.
            PRESCRIPTION OPIATE           :   POLSTER
            LITIGATION                    :
                                          :
            APPLIES TO ALL CASES          :   NO.
                                          :   1:17-MD-2804
                                          :

                     - HIGHLY CONFIDENTIAL -

          SUBJECT TO FURTHER CONFIDENTIALITY REVIEW

                                  -   -   -

                             July 19, 2018

                                  -   -   -

                       Videotaped deposition of
          MICHAEL ORIENTE, taken pursuant to
          notice, was held at the law offices of
          Weitz & Luxenberg, 700 Broadway, New York
          New York, beginning at 9:01 a.m., on the
          above date, before Michelle L. Gray, a
          Registered Professional Reporter,
          Certified Shorthand Reporter, Certified
          Realtime Reporter, and Notary Public.
                                 -    -   -

                   GOLKOW LITIGATION SERVICES
                877.370.3377 ph | 917.591.5672 fax
                         deps@golkow.com




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                                                                        Page 547
     1     placed the order above their threshold,
     2     true?
     3               A.       Yes.
     4               Q.       And so if pharmacy X,
     5     Miller's Pharmacy on Main Street in
     6     Cleveland, Ohio, breached their
     7     threshold, you're getting ahold of
     8     Miller's Pharmacy on Main Street in
     9     Cleveland, Ohio, that ordered over their
    10     threshold.       Right?
    11               A.       Yes.
    12               Q.       But if a big chain like CVS
    13     breaches their threshold, the call went
    14     to their corporate headquarters, their
    15     regulatory department, their oversight
    16     department.        Correct?
    17               A.       Yes, I believe that's how it
    18     worked.
    19               Q.       So if a CVS store in Idaho
    20     places an order above their threshold,
    21     you are calling Providence, Rhode Island.
    22     You are calling the corporate office with
    23     respect to that Level 1 --
    24                        MS. HENN:      Objection to


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                                                                        Page 548
     1               form.
     2     BY MR. KENNEDY:
     3               Q.       -- to find out what's going
     4     on in Idaho, correct?
     5                        MS. HENN:      Objection to
     6               form.
     7                        THE WITNESS:       Right.
     8               Because they had -- they perform
     9               their own due diligence internal
    10               regulatory review.
    11     BY MR. KENNEDY:
    12               Q.       Okay.    I'm going to write
    13     that down.        I got a paper.
    14                        MS. ROZMAN:       We're going to
    15               mark as MCK Oriente 574.
    16                        MR. KENNEDY:       I'm going to
    17               put that up please.
    18                         (Document marked for
    19               identification as Exhibit
    20               MCK-Oriente-574.)
    21     BY MR. KENNEDY:
    22               Q.       So these national chains,
    23     the big customers, the CVS, they do their
    24     own due diligence, they've got their own


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                                                                        Page 549
     1     regulatory department, correct?
     2               A.       Yes.
     3               Q.       And CVS, now that's a
     4     customer that you're doing over
     5     $10 billion worth of business with,
     6     right?
     7                        MS. HENN:      Objection to
     8               form.
     9                        THE WITNESS:       Again, sir, I
    10               don't know the exact dollar amount
    11               that McKesson does with each
    12               chain.
    13     BY MR. KENNEDY:
    14               Q.       Let me ask you, sir, real
    15     simple question.
    16                        If you're going to rely upon
    17     somebody like CVS to do the due
    18     diligence, you want to make sure they are
    19     doing a good job, don't you?
    20               A.       We want to make sure they
    21     are following the requirements
    22     established for them, yes.
    23               Q.       I mean that's -- you've got
    24     to make sure.


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                                                                        Page 550
     1               A.       Yeah, we -- yes.
     2               Q.       Sir, in 2010, do you
     3     understand CVS paid a $77 million penalty
     4     in California, do you know that?
     5               A.       In California, I was not
     6     aware.     I knew they did in Florida have
     7     some stores.        But I wasn't aware of
     8     California.
     9                        MR. KENNEDY:       505, please.
    10               5005.
    11                        MS. ROZMAN:       Identified as
    12               MCK --
    13                        MR. KENNEDY:       5 -- yeah,
    14               5005.
    15                        MS. ROZMAN:       MCK Oriente
    16               535.
    17                         (Document marked for
    18               identification as Exhibit
    19               MCK-Oriente-535.)
    20     BY MR. KENNEDY:
    21               Q.       Here's -- this is from the
    22     New York Times.         "CVS to pay penalty in
    23     methamphetamine case," 2010, New York
    24     Times.


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